Case: 5:22-cv-01454-CEH Doc #: 32-8 Filed: 03/29/24 1 of 3. PagelD #: 241

EXHIBIT H

Case: 5:22-cv-01454-CEH Doc #: 32-8 Filed: 03/29/24 2 of 3. PagelD #: 242

am SQUIRRELS

7

Squirrats, ELC loveice

121 Wilbur Dr NE 00002860

North Canton, OH 44720

us

Bil To Name Nonce Ple Lid Issue Date (26/2018
Bil To 8 St Martla’s Dr Que Date GHE2048

403-21 SI Martin Residence
Singapora 258605
86

BCU1525 wil mods no DIMMS USD 3,250.06 20,00 USD 67,000.00
Subioial USD 67,000,00
Grand Total US5 67,000.00
Terms and Stack Is not reserved uniil payment has bean received,
Conditions

Taxes, Imporl fees and duties, and shipping costs lo be collected af time of shipment.

Wire Transfer JPMorgan Chase Bank, NLA,
219 North Maln St.
North Canton, OH 44726
Routing: 044000037
Accounk 233220247
Swit Coda: CHASUS33

a A ALG eT HS

Case: 5:22-cv-01454-CEH Doc #: 32-8 Filed:

DRSASESG SHIFT GYareu
SWSRHT OUVGGTIIG SHIFT KEASAGES GENT

UNITADDSSSGSGRRRP YOO

U-HH EDs TCHASOSIIXXALOION 1 COT SATE TSS
BUPFIX@LaG6 OLD 4521125

HZ6BHAGK, CREATION, DATE=10/06/7016
Poxnaa avd fe

sSubafgrmats tnpat
IdonthLfherefinsi Od

Hue

PineCopys

SancoreDUBFROSGNRKK

Hagyd ya co CUAGUSZINRAK

Hasaage Toxtt

961 Sender's Rofgrance

O0160TII7E764
23a; Bank Operation Coda

CREA
dans ¥al pkescuer/Tatarbnk Setbid Ame

pate 1 10 dune 2018

Gurrency 1 USD {US DOLLARD

AmauAt t 467,000,
330; Curranoy/Inatruckad Amount

Surredny 1 USO (03 HOURAR

Amount a €67,000,1
SOK Ordacing Custamer-Hane & Addtene

#12007 CASE

PORSHLL CARL GENO
BST, HARTIN'S DATVE OT, MARTIN
RESIDENCE O3-2) SINGAPORE 250005
S7Ai hocovat Wieh Tastkkution = FL THe
fF PUNT EORDGST
CHASUGIINAX
Henufiolarcy Cuetenor-Nana & Addr
FRILEASTLD
ALBHTHK LUC.
9900 CORPORATE CAMSUS DAIVE, $0176
LOWISVILLE, HY 40223 USA
701 Ranittanes Tatormation
IRVOTCH GD002660
HORCE PEFR LTD
VIAL Datakla of Cheraas
ous

$5

03/29/24 3 of 3. PagelD #: 243

PROCESSING DATE 1 02/07/2020
BAGEE1, 908

